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   9
                                   UNITED STATES DISTRICT COURT
  10
                                 CENTRAL DISTRICT OF CALIFORNIA
  11
  12
     ALAN BAKER,                                       Case No. 2:19-cv-08024-ODW-JC
  13 LINDA B. OLIVER,
                                                       REPLY IN SUPPORT OF
  14                     Plaintiffs,                   ALLSTATE INSURANCE
                                                       COMPANY AND EDWARD
  15            v.                                     CARRASCO’S MOTIONS TO
                                                       DISMISS
  16 ALLSTATE INSURANCE
     COMPANY,                                          Hon. Otis D. Wright II
  17 EDWARD CARRASCO, and DOES 1
     through 10, inclusive,                            Hearing:
  18                                                   Date:    November 18, 2019
                  Defendants.                          Time:    1:30 p.m.
  19                                                   Dept:    First Street Courthouse,
                                                                Courtroom 5D
  20
  21                                                   [Complaint Filed: August 13, 2019]
                                                       Trial Date:       None set
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                                                                       Case No. 2:19-cv-08024-ODW-JC
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   1 I.         Introduction
   2            In violation of the Local Rules, plaintiffs’ opposition brief was filed several
   3 weeks after it was due, and on the eve of the hearing on Allstate and Mr. Carrasco’s
   4 motions to dismiss. The Court should therefore grant the motions to dismiss based
   5 on the untimeliness of plaintiffs’ opposition alone.
   6            But even considering the content of their untimely opposition, it is clear that
   7 plaintiffs have no meaningful response to the cases discussed and arguments made
   8 in the motions to dismiss. Allstate and Mr. Carrasco’s motions set forth in detail
   9 that: (i) plaintiffs’ claims against Mr. Carrasco should all fail because plaintiffs
  10 admitted that he was acting within the scope of his employment as an insurance
  11 adjuster for Allstate; (ii) plaintiffs’ claims against Mr. Carrasco should fail for the
  12 additional, independent reason that each fails under settled California law; and (iii)
  13 plaintiffs’ third, fourth, fifth, sixth, and seventh causes of action against Allstate fail
  14 as a matter of law as well. Plaintiffs do not deny (let alone address) any of this.
  15            Instead of addressing the facts and law at issue in this case, they resort to
  16 bluster and cite a Rutter Group Guide entry, which stands for the unremarkable
  17 proposition that, in some instances, an insured may be able to assert a cause of
  18 action against an adjuster. What the Rutter Group says is entirely consistent with
  19 California law and the rulings that Allstate and Mr. Carrasco cited in their briefs. It
  20 is also completely irrelevant in light of the facts at issue in this case, which show
  21 that plaintiffs cannot state a cause of action against Mr. Carrasco. The Rutter
  22 materials do not change that plaintiffs have admitted that Mr. Carrasco was acting
  23 within the scope of his employment as a claims adjuster when he did the things that
  24 plaintiffs complain of. And they do not change that the claims in plaintiffs’
  25 complaint are not viable.
  26            Thus, the Court should grant Allstate and Mr. Carrasco’s motions to dismiss.
  27 And for the same reasons, the Court should ignore plaintiffs’ baseless and
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   1 procedurally improper requests for sanctions and remand, both of which are
   2 meritless under the law they refuse to acknowledge.
   3 II.        The motions to dismiss should be considered unopposed
   4            Allstate and Mr. Carrasco filed their motions to dismiss on September 24,
   5 2019, and designated November 18, 2019 – almost two months later – as the hearing
   6 date. (Dkt. Nos. 9, 11). Thus, under Local Rule 7-9, plaintiffs’ opposition briefs
   7 were due on October 28, 2019. See C.D. Cal. L.R. 7-9 (requiring opposition brief
   8 “not later than twenty-one (21) days before the date designated for the hearing of the
   9 motion”).
  10            Plaintiffs waited until the afternoon of November 12 to file their opposition,
  11 and therefore missed the deadline by over two weeks. (Dkt No. 13). They made no
  12 effort to seek leave from the Court for their inexplicable and extreme tardiness, nor
  13 did they offer to continue the hearing. To make matters worse, plaintiffs had
  14 previously scheduled the depositions of two Allstate employees for November 13
  15 and 15, 2019. Thus, the untimeliness of plaintiffs’ opposition forced Allstate to
  16 draft this reply, attend two depositions noticed by the plaintiffs, and prepare for the
  17 hearing – all in just three work days. This is patently improper. See Moore v. La
  18 Habra Relocations, Inc., 501 F. Supp. 2d 1278, 1279 (C.D. Cal. 2007)
  19 (“Noncompliance with the Local Rules not only prejudices the opposing party by
  20 limiting preparation time for opposing papers, it also interferes with the Court’s
  21 ability to prepare for motion hearings.”).
  22            Under Local Rule 7-12, “[t]he Court may decline to consider any
  23 memorandum or other document not filed within the deadline set by order or local
  24 rule.” Moreover, “[t]he failure to file any required document, or the failure to file it
  25 within the deadline, may be deemed consent to the granting or denial of the
  26 motion. . . .” L.R. 7-12. Several decisions from this district reflect that where, as
  27 here, an opposition to a motion to dismiss is filed late, Local Rule 7-12 means what
  28 it says: that the Court should disregard the untimely opposition, treat the motion as
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   1 unopposed, and grant the motion. See, e.g., Ketab Corp. v. Mesriani Law Grp.,
   2 2015 WL 2085531, at *1 (C.D. Cal. May 5, 2015) (motion to file opposition 7 days
   3 late was denied and thus motion to dismiss was considered unopposed pursuant to
   4 Local Rule 7-12); Chavers v. GMAC Mortg., LLC, 2012 WL 777491, at *1 (C.D.
   5 Cal. Mar. 9, 2012) (Wright, J.) (“The hearing on Defendants' motion was set for
   6 March 19, 2012. Plaintiff’s opposition was therefore due by February 27, 2012.
   7 Nevertheless, the Court did not receive Plaintiff's Opposition until March 7, 2012.
   8 Plaintiff’s failure to timely oppose may therefore be deemed consent to the granting
   9 of Defendants' Motion.”). 1
  10            The same result is warranted here. Because plaintiffs’ opposition was filed
  11 more than two weeks late, it should be disregarded and the motions to dismiss
  12 should be considered unopposed.
  13 III.       The claims against Mr. Carrasco fail because he was acting within the
  14            scope of his employment at Allstate
  15            Plaintiffs’ do not deny (let alone address) that:
  16            1.       They admitted in their complaint that Mr. Carrasco was at all times
  17 “acting in the course and scope of his employment with ALLSTATE as a ‘claims
  18 adjuster’ while committing the acts” that plaintiffs complain of in their Complaint.
  19 Complaint, ¶ 3 (emphasis added).
  20            2.       Courts in the Ninth Circuit have repeatedly held that, when an
  21 insurance adjuster is sued for conduct taken within the scope of his agency for the
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       1
  23           Cf. Rogers v. Select Portfolio Servicing, Inc., 2014 WL 1794460, at *2 (C.D.
       Cal. May 6, 2014) (Wright, J.) (“The Court turns first to Plaintiffs’ Motion to
  24   Remand, which was filed a week after the deadline to oppose the Motion to Dismiss.
  25   . . . [T]he Court finds that the Motion to Remand is really just a late-filed and
       hastily written opposition to the Motion to Dismiss. . . . This attempt to circumvent
  26   the well—established briefing schedule for motions is entirely unacceptable.
  27   Therefore, the Court will not consider Plaintiffs’ arguments in addressing the merits
       of the Motion to Dismiss, and Plaintiffs’ counsel is warned that failure to comply
  28   with Rule 11 in the future will result in monetary sanctions.”).
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   1 insurer, the claims against the adjuster fail as a matter of law – because any liability
   2 rests with the insurer only, not its agent. See, e.g., Mercado v. Allstate Ins. Co., 340
   3 F.3d 824, 826 (9th Cir. 2003) (holding that because the plaintiff’s “allegations
   4 against [the employee] pertain to actions she took in her capacity as an Allstate
   5 employee,” the court “did not err in concluding that [the individual] was a
   6 fraudulently named defendant.”); Khordadian v. New York Life Ins. Co., 2014 WL
   7 12705059 (C.D. Cal. June 10, 2014) (dismissing IIED claims against adjuster and
   8 emphasizing that “[m]any district courts have held that insurance agents named as
   9 defendants in claims by insureds for fraud, misrepresentation, and other torts were
  10 fraudulently joined when the alleged misconduct of the agents was within the scope
  11 of their role as agents.”) (emphasis added); Infanzon v. Allstate Ins. Co. et al., 2019
  12 WL 5847833, at *5 (C.D. Cal. Nov. 6, 2019) (same).
  13            3.       Plaintiffs’ “clear allegation that [Mr. Carrasco] acted within the scope
  14 of [his] employment would make any attempt at amending their claims against
  15 [him] futile.” Durben v. State Farm Gen. Ins. Co., 2016 WL 4096801, *3 (E.D. Cal.
  16 Aug. 1, 2016) (emphasis added).
  17            Under California law, the inquiry ends there. Because plaintiffs have
  18 admitted that Mr. Carrasco’s actions were taken within the scope of employment,
  19 they have not, and cannot, include him as a defendant. He is a “sham” defendant,
  20 and his presence cannot destroy diversity. (Dkt. No. 1, ¶ 13). The claims against
  21 him should be dismissed with prejudice, just like the sham employee defendants in
  22 Durben, Khordadian, and the many other cases cited in the motions to dismiss.
  23 IV.        Scope of employment aside, each claim against Mr. Carrasco also fails as
  24            a matter of California law
  25            Plaintiffs also fail to address the cases demonstrating that each of plaintiffs’
  26 legal theories for liability against Mr. Carrasco fails as a matter of law. This
  27 provides yet another reason to dismiss the case against him. As set forth in Mr.
  28 Carrasco’s motion to dismiss, and utterly ignored by plaintiffs:
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   1            1.       Plaintiffs’ negligence cause of action against Mr. Carrasco fails
   2 because the standard for tort liability against an insurer is bad faith, not negligence,
   3 and because an insurance adjuster owes no duty of care to an insured. Tento Int.
   4 Inc. v. State Farm Fire and Casualty Co., 222 F. 3d 660, 664 (9th Cir. 2000) (“[I]n
   5 California, ‘negligence is not among the theories of recovery generally available
   6 against insurers.’”); Huber v. Tower Grp., Inc., 881 F. Supp. 2d 1195, 1200 (E.D.
   7 Cal. 2012) (holding that an insurance adjusted cannot be liable for negligence
   8 because an insurance adjuster does not owe a duty of care to the insured).
   9            2.       Plaintiffs’ IIED cause of action against Mr. Carrasco fails because, as
  10 California courts have repeatedly held, allegations of delay or denial of insurance
  11 claims do not satisfy the high standard of pleading IIED. Zhang v. Safeco Ins. Co.
  12 of Am., 2012 WL 1895989 (N.D. Cal. May 23, 2012) (noting the high bar imposed
  13 when asserting an IIED cause of action, and the California authority making clear
  14 that “delay or denial of insurance claims is not sufficiently outrageous to state a
  15 cause of action for IIED,” and agreeing that plaintiffs could not assert a viable cause
  16 of action against the adjuster).
  17            3.       Plaintiffs’ financial elder abuse claim against Mr. Carrasco fails
  18 because financial elder abuse cannot be stated against an adjuster. Strawn v. Morris,
  19 Polich & Purdy, LLP, 30 Cal. App. 5th 1087, 1102-03 (2019).
  20            4.       Plaintiffs’ injunctive relief cause of action fails because injunctive
  21 relief is not a cause of action at all. Jenkins v. MCI Telcoms. Corp., 973 F.Supp.
  22 1133, 1139, n.10 (C.D. Cal. 1997) (“declaratory relief, and injunctive relief are not
  23 causes of action. They are remedies . . . Therefore, they need not be addressed by
  24 this Court”).
  25            Plaintiffs ignore this law because they must; they cannot rebut these cases
  26 holding that the causes of action they have made against Mr. Carrasco simply cannot
  27 survive under California law. But plaintiffs cannot avoid this law by ignoring it. Cf.
  28 Manzo v. Cty. of Riverside, 2017 WL 10544292, at *5 (C.D. Cal. Oct. 19, 2017)
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   1 (“The Court construes Plaintiff’s failure to address this argument as Plaintiff’s
   2 concession that they are valid reasons to dismiss those claims.”). Because these
   3 claims against Mr. Carrasco are invalid, that provides yet another reason to dismiss
   4 Mr. Carrasco from this case.
   5 V.         Allstate’s motion to dismiss should be granted
   6            Plaintiffs’ opposition purports to only respond to Allstate’s motion to dismiss,
   7 and not Mr. Carrasco’s. See, e.g., Dkt. No. 13 at 1 (“Plaintiffs ALAN BAKER and
   8 LINDA B. OLIVER respectfully submit the following Opposition to Defendant
   9 ALLSTATE INSURANCE COMPANY’S Motion to Dismiss Plaintiffs’ Third,
  10 Fourth, Fifth, Sixth and Seventh Causes of Action.”). They nonetheless completely
  11 fail to address any of Allstate’s arguments. As explained in Allstate’s motion to
  12 dismiss, plaintiffs’ third, fourth, fifth, sixth and seventh causes of action should be
  13 dismissed because they fail under California law. (Dkt. No. 11 at 3-13).
  14 VI.        Plaintiffs’ argument does not change the result
  15            Plaintiffs spill much ink on the Rutter Guide’s discussion that an insured can
  16 sometimes sue an insurer’s agents. From Rutter’s discussion of what some plaintiffs
  17 may be able to do in certain cases, plaintiffs infer that they can necessarily state a
  18 viable claim against Mr. Carrasco in this case. This argument is nonsensical. That
  19 some tort theories might be viable in some instances, where an agent of an insurer
  20 acts outside of the scope of employment, does not mean that all tort theories can
  21 survive, even notwithstanding their defects, or admissions that invalidate the
  22 theories.
  23            This is precisely what the Court recognized in Kavanaugh v. Nat’l Union Fire
  24 Ins. Co. of Pittsburgh, PA, 2019 WL 3823904 (C.D. Cal. Aug. 15, 2019) (Wright,
  25 J.). There, the Court began with the principle – critical to this case – that “[i]n
  26 California, where the agent contracts in the name of the insurer and does not exceed
  27 that authority, the insurer is liable, and not the agent.” Id. at *2 (emphasis added;
  28 internal brackets and quotation marks omitted). The Court also recognized –
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   1 consistent with Rutter – that there can be liability in other circumstances, such as
   2 where the agent acts outside of the agency with the employer. Thus, because the
   3 plaintiff in Kavanaugh alleged that the sales agent “was acting as a dual agent,” the
   4 Court ruled that a claim could be stated against him. Id. at *3.
   5            Here, in contrast, plaintiffs do not allege that Mr. Carrasco was a dual agent.
   6 To the contrary, like in Durben, 2016 WL 4096801, they admit that he was acting
   7 within the scope of his employment. And, as set forth above, plaintiffs’ specific
   8 claims against Mr. Carrasco all fail as a matter of California law. While valid
   9 claims against a true dual agent may be viable in some circumstances, that is not the
  10 case here. In this case, the allegations in the complaint establish that there is no
  11 basis for a claim against Mr. Carrasco. Thus, the claims against him should be
  12 dismissed.
  13 VII. Plaintiffs’ procedurally improper requests for sanctions and remand fail
  14            As set forth above, and as demonstrated by plaintiffs’ refusal to engage with
  15 Allstate and Mr. Carrasco on the law governing dismissal in this case, plaintiffs’
  16 requests for sanctions and remand are patently meritless. They are also procedurally
  17 defective because they are not supported by any evidence, and not brought under the
  18 Local Rules’ requirements. See, e.g., C.D. Cal. R. 7-2 to 7-8 (motion requires
  19 certification of conference of counsel, separate notice of motion, memorandum in
  20 support of motion, and evidence in support of motion). They should be denied out
  21 of hand.
  22 VIII. Conclusion
  23            If plaintiffs’ untimely opposition shows anything, it’s that plaintiffs intend to
  24 litigate this case through exaggeration, bluster, and threats. None of that takes away
  25 from the fact that plaintiffs have failed to state a claim against Mr. Carrasco, or that
  26 their last five causes of action against Allstate are invalid. The Court should grant
  27 the motions to dismiss.
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   1 Dated: November 13, 2019
   2                            SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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